   Case:13-07692-ESL13 Doc#:61 Filed:03/19/18 Entered:03/19/18 12:38:27   Desc: Main
                        UNITEDDocument     Page 1 of 1COURT
                               STATES BANKRUPTCY
                              DISTRICT OF PUERTO RICO


IN RE:                                        CASE NO. 13-07692-ESL
WILFRED RIVERA COLON
LAURA ROSA SANTIAGO BARBOSA                       CHAPTER 13

        DEBTOR (S)


                       TRUSTEE'S REPORT REGARDING THE STATUS
                            OF CHAPTER 13 PLAN PAYMENTS

TO THE HONORABLE COURT:

     José R. Carrión, Chapter 13 Trustee, through the undersigned attorney, very
respectfully alleges and prays:

     1. The Trustee hereby provides a report regarding the status of the Chapter
13 Plan payments in this case.

     2. As of March 19, 2018 our record of payments received in this case
reflects the following:

        -   Total Paid in:         $13,400.00
        -   Balance on Hand:       $702.00
        -   Last Payment date:     March 15, 2018
        -   Last Payment Amount:   $780.00
        -   Amount in Default:     $520.00
        -   Plan Date:             December 23, 2013

     3. If debtor(s) have paid an amount greater than the amount stated above,
then please provide the Office of the Chapter 13 Trustee with evidence of the
payments totaling a different amount.


     WHEREFORE, the Chapter 13 Trustee respectfully prays that this information
provided herein be taken in consideration in the pertinent proceedings before this
Honorable Court.

     I HEREBY CERTIFY that on this date I notified a true copy of this document
to the Debtor(s) to her/his/their address of record by first-class mail, and by
electronic means (CM/ECF System) to her/his/their attorney of record.

     In San Juan, Puerto Rico this Monday, March 19, 2018.


                                                    /s/ Jose R. Carrion

                                                    JOSE R. CARRION
                                                    CHAPTER 13 TRUSTEE
                                                    P.O. Box 9023884,
                                                    San Juan, P.R. 00902-3884
                                                    Tel (787) 977-3535
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